Case 1:22-cv-22538-RKA Document 103 Entered on FLSD Docket 02/07/2023 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                              CASE NO.: 22-cv-22538-ALTMAN/Reid

  PIERCE ROBERTSON, et al.,

              Plaintiffs,

      v.

  MARK CUBAN, et al.,

              Defendants.
   _______________________________________/

            NOTICE OF ZOOM DISCOVERY HEARING FOR FEBRUARY 7, 2023
           NOTICE IS HEREBY GIVEN that the Defendants will raise the issue of extending the
   current deadlines for the exchange of expert reports before Magistrate Judge Lisette M. Reid on
   February 7, 2023, at 4:00 p.m. The Court will circulate Zoom instructions via email.

                                  Local Rule 7.1(a)(3) Certification

           Pursuant to Local Rule 7.1(a)(3), Defendants certify that good faith efforts were made to
   resolve this dispute through various emails. The parties were unable to resolve the issue and
   respectfully request Court intervention to resolve it.

   Dated: February 7, 2023

                                                            Respectfully submitted,

                                                            By: /s/Paul C. Huck, Jr.
                                                            Paul C. Huck, Jr.
                                                            Florida Bar No. 0968358
                                                            THE HUCK LAW FIRM, P.A.
                                                            334 Minorca Avenue
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                                                            Co-counsel for Defendants




                                                     1 of 2
Case 1:22-cv-22538-RKA Document 103 Entered on FLSD Docket 02/07/2023 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 7, 2023, a true and correct copy of the foregoing
  has been furnished by electronic filing with the Clerk of the Court via CM/ECF, which will
  send notice of electronic filing to all counsel of record.


                                                         By: /s/Paul C. Huck, Jr.
                                                         Paul C. Huck, Jr.




                                                     2 of 2
